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                Statement Accompanying Relief From Stay Page 1 of 1

                                       REQUIRED STATEMENT
                           TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

All Cases: Debtor(s) BRANDY NICOLE CRUMP aka BRANDY CRUMP                    Case No. 14-28280
Chapter 13

All Cases: Moving Creditor The Bank of New York Mellon, f/k/a The Bank of New York, as
trustee for the certificateholders of the CWABS, Inc. Asset-Backed Certificates Series 2006-3
by Green Tree Servicing LLC

Date Case Filed July 31, 2014

Nature of Relief Sought:        Lift Stay         Annul Stay     Other (describe)

Chapter 13: Date of Confirmation Hearing      -    or Date Plan Confirmed November 13, 2014

Chapter 7:   No-Asset Report Filed on
             No-Asset Report not Filed, Date of Creditors Meeting

1.    Collateral
      a.        Home
      b.        Car     Year, Make, and Model
      c.        Other (describe)

2.    Balance Owed as of April 13, 2015: $94,967.91
      Total of all other Liens against Collateral $-

3.    In chapter 13 cases, if a post-petition default is asserted in the motion, attach a
      payment history listing the amounts and dates of all payments received from the
      debtor(s) post-petition.

4.    Estimated Value of Collateral (must be supplied in all cases) $75,000.00 (per debtor’s
                                                                      schedule A)

5.    Default
      a.        Pre-Petition Default
             Number of months   6                  Amount $6,284.35

      b.          Post-Petition Default
             i.          On direct payments to the moving creditor
                      Number of months   9 Amount $9,456.10 including attorney fees and costs

             ii.        On payments to the Standing Chapter 13 Trustee
                     Number of months   -             Amount $-

6.    Other Allegations
      a.        Lack of Adequate Protection § 362(d)(1)
             i.        No insurance
             ii.       Taxes unpaid            Amount $
             iii.      Rapidly depreciating asset
             iv.       Other (describe) Plan to surrender

      b.          No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

      c.        Other “Cause” § 362(d)(1)
             i.        Bad Faith (describe)
             ii.       Multiple Filings
             iii.      Other (describe)

      d.     Debtor’s Statement of Intention regarding the Collateral
             i.        Reaffirm ii    Redeem iii.    Surrender    iv.           No Statement of
Intention Filed

Date: April 28, 2015                               by: /s/Toni Townsend
                                                       Toni Townsend ARDC#6289370
                                                        Counsel for Movant
